|N THE UN|TED STATES D|STR|CT COURT FOR THE |\/||DDLE D|STR|CT OF
TENNESSEE

GRA|\/lERCY |NSURANCE COl\/|PANY
5000 Quorum Drive, Suite 111
Da||as, TX 75254 : Civil Aotioh No.

P|aintiff, : ’Judge
v.

EXPEDITOR’S EXPRESS, |NC.
P.O. Box 79
I\/ladison, TN 37116

and

JOHN TULL|S
616 Kinsey B|vd.
|\/iadison, TN 37115

and
WlLL|A|\/| L|TTLEF|ELD
dba L|TTLEF|ELD BROTHERS,
a sole proprietorship
242 West i\/|ain Street, #387
Hendersonvi|le, TN 37075
and
SH|RLEY A. BROVVN, Admihistrator
of Estate of Dona|d D. Underwood
169 N. imperial Drive
Denison, TX 75020
Defendants.
COMPLA|NT FOR DECLARATORY JUDGMENT

Now comes P|aintiff, Gramercy insurance Company (“Grameroy”), by and

through counsei, and for its Complaint for Dec|aratory Judgment, statesas follows:

Case 3:12-cv-00509 Document 1 Filed 05/21/12 Page 1 of 8 Page|D #: 1

PART|ES

1. P|aintiff, Gramercy, is an insurance company incorporated in a state other
than Tennessee With a principal place of business at 5000 Quorum Drive, Suite 1100,
Da||as, Texas 75254. Gramercy is duly licensed to do business and Write insurance in
the State of Tennessee, including commercial automobile insurance policies.

2. Defendant, Expeditor’s Express, |nc., at all times relevant, Was an active,
for-profit Tennessee corporation With its principal place of business in Davidson County,
Tennessee and operating as an interstate motor carrier pursuant to authority granted by
the United States Department of Transportation. At the time of the accident of August
5, 2010, Which is the subject of this litigation, Expeditor’s Express, |nc., Was the lessee
of the 1997 Volvo truck tractor being operated by Donald D. Underwood in connection
With its business as an interstate motor carrier.

3. Defendant, John Tullis, is a citizen and resident of l\/ladison, Davidson
County1 Tennessee and is or Was the owner and an officer of Defendant, Expeditor’s
Express1 |nc.

4. Defendant, VVil|iam Litt|efield dba Litt|efield Brothers (“Littlefield”), a sole
proprietorship, is a citizen and resident of Hendersonville, Sumner County, Tennessee
and Was the owner of the subject 1997 Vo|vo truck tractor that he leased to Defendant,
Expeditor’s Express, lnc.

5. Defendant, Shirley A. Brown, is the legally appointed Administrator of the
Estate of Donald D` Underwood. |\/|r. Undervvood Was a citizen and resident of Antioch,

Davidson County, Tennessee at the time of his death and prior thereto. Donald D.

Case 3:12-cv-00509 Document 1 Filed 05/21/12 Page 2 of 8 Page|D #: 2

Underwood, deceased, at all times relevant, was employed by Defendants, VVil|iam
Litt|efield dba Litt|efield Brothers and Expeditor’s Express, lnc., as a licensed
commercial motor carrier driver.

JURISDICT|ON AND VENUE

 

6. This Court has subject matter jurisdiction in this matter pursuant to 28
U.S.C. §1332 because the amount of controversy exceeds the sum of $75,000,
exclusive of interest and costs, and there is complete diversity of citizenship between
Plaintiff Gramercy and all named Defendants. l\/loreover, Plaintiff Gramercy seeks
declaratory relief under the Federal Declaratory Judgment Act, 28 U.S.C. §2201, As
such, this Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 and
venue is proper pursuant to 28 U.S.C. § 1391 in that one or more of the Defendants
reside in Davidson County, Tennessee.

STATEMENT OF RELEVANT FACTS

7. ln early August 2010, Donald D. Undervvood became employed by
Defendant Litt|efield as a commercially licensed driver.

8. On August 5, 2010, l\/lr. Unden/vood was operating a 1997 Volvo truck
tractor owned by Defendant Litt|efield and leased to Defendant Expeditor’s Express7
lnc. in connection with Expeditor’s Express, lnc.’s business as a federally-authorized
interstate motor carrier. Upon information and belief, l\/lr. Underwood was transporting
magazines in interstate commerce to a consignee in Atlanta, Georgia.

9. During the course of his trip, l\/lr. Underwood was involved in a one-vehicle

accident which occurred on interstate 24 in l\/larion County, Tennessee wherein he lost

Case 3:12-cv-00509 Document 1 Filed 05/21/12 Page 3 of 8 PagelD #: 3

control of the 1997 Volvo truck tractor which he was operating, causing the vehicle to
collide with a guardrail, cross over the guardrail and overturn into a ravine. The vehicle
l\/lr. Underwood was operating caught fire and l\/lr. Underwood perished in the fire.

10. At the time of the aforementioned accident, |\/lr. Underwood was in the
course and scope of his employment with Defendants Litt|efield and Expeditor’s
Express, lnc.

11. Following the aforementioned accident, claims have been presented by
Defendant Shirley A. Brown as Administrator of the Estate of decedent Donald D.
Underwood against, inter alia, Defendants Litt|efield, Expeditor’s Express, |nc., and
Tullis. Those claims are the subject of a complaint filed by Defendant Brown in the
Circuit Court of l\/larion County, Tennessee, Case No. 19524, styled ShirleyA. Brown v.
Monteagle Truck & T/'re, /nc., et a/. (“Brown state court action”).

12. Defendants Littlefield, Expeditor’s Express, lnc. and/or Tullis have
asserted or may assert that Plaintiff Gramercy is obligated to defend and/or indemnify
them for the claims made against them on behalf of decedent Underwood’s estate in
the Brown state court action. Plaintiff Gramercy is currently providing a defense for
those Defendants under a complete reservation of rights.

13. At all times relevant herein, there was in force and effect a commercial
automobile insurance policy (“the Policy”), being Policy No. GlC41~1921-000127,
issued by Plaintiff Gramercy to Defendant Expeditor’s Express, lnc. with an effective
policy period of November 22, 2009 to November 22, 2010. A certified copy of the

Policy is attached hereto and marked as Exhibit A.

Case 3:12-cv-00509 Document 1 Filed 05/21/12 Page 4 of 8 PagelD #: 4

14. The Policy was issued to Defendant Expeditor’s Express, lnc. in order that
Expeditor’s Express, lnc. would be in compliance with all federal and state motor carrier
insurance regulations

15. The 1997 Vo|vo tractor involved in the subject accident was added to the
Gramercy Policy as a specifically described “auto” by Endorsement No. 9, effective
l\/lay 24, 2010.

16. The Policy, under Section 2 ~ Liability Coverage, contains the following
relevant provisions and exclusions:

SECT|ON ll - L|AB|L|TY COVERAGE

A. COVERAGE

We will pay all sums an “insured” legally must pay as
damages because of “bodily injury” or “property damage" to
which this insurance applies, caused by an “accident” and

resulting from the ownership, maintenance or use of a
covered “auto”.

~k * *

(Policy, pg. 2).
B. EXCLUSlONS

This insurance does not apply to any of the following:

`k ~k

4. Emp|oyee indemnification And Emp|oyer’s Liability

“Bodily injury” to:

a. An “employee” of the “insured”
arising out of and in the course
of:

(1) Emp|oyment by the “insured”; or

(2) Performing the duties related to the
conduct of the “insured’s”
business; or

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Case 3:12-cv-00509 Document 1 Filed 05/21/12 Page 5 of 8 PagelD #: 5

This exclusion applies:

(1) Whether the “insured” may be liable as an employer
or in any other capacity.

(Policy, pg. 4)
SECT|ON Vi - DEF|N|T|ONS

A. “Accident” includes continuous or repeated exposure to the
same conditions resulting in “bodily injury” or “property
damage”.

*k * 'k

F. “Employee” includes a “leased worker”. “Employee” does
not include a “temporary worker,”

G. “lnsured” means any person or organization qualifying as an
insured in the Who is An insured provision of the applicable
coverage. Except with respect to the Limit of insurance, the
coverage afforded applies separately to each insured who is
seeking coverage or against whom a claim or “suit” is
brought.

* ~k *

l. “Leased VVorker” means a person leased to you by a labor
leasing firm under an agreement between you and the labor
leasing firm, to perform duties related to the conduct of your
businessl “Leased worker” does not include a “temporary
worker”,

* * 'k

Q. “Trucker” means any person or organization engaged in the
business of transporting property by “auto” for hire.

(Policy, pgs. 12-14).
17. The Policy also contains an i\/iCS-90 Endorsement for i\/lotor Carrier
Policies of insurance for Public Liability under Sections 29 and 30 of the l\/lotor Carrier

Act of 1980. This endorsement states, in pertinent part, as follows:

Case 3:12-cv-00509 Document 1 Filed 05/21/12 Page 6 of 8 PageiD #: 6

. . .such insurance as is afforded, for public liability, does not
apply to injury to or death of the insured’s employees while
engaged in the course of their employment . .
F|RST CAUSE OF ACT|ON
(Deciaration of Rights)

18. Plaintiff Gramercy incorporates Paragraphs 1 through 17 as though fully
rewritten herein.

19. Pursuant to the above terms and exclusions of the Policy and the i\/lCS~90
Endorsement, and pursuant to the Federal i\/iotor Carrier regulations found in 49 CFR
390.5 and 49 U.S.C. §31132, Plaintiff Gramercy has no obligation to defend or
indemnify Defendants Litt|efield, Expeditor’s Express, lnc. or Tullis with respect to the
claims brought against them on behalf of the Estate of Donald D. Undervvood in the
Brown state court action.

20. Plaintiff Gramercy is entitled to a declaration that it owes no coverage and
that it has no duty to defend any claims made and/or damages sought against
Defendants Litt|efield, Expeditor’s Express, lnc. and Tullis by the Estate of Donald D.
Unden/vood in the Brown state court action.

VVHEREFORE, Plaintiff Gramercy prays that this Court determine the rights,
status and legal relations of the parties hereto, and declare that:

1. Plaintiff Gramercy does not have a duty to defend any claim brought on

behalf of the Estate of Donald D. Underwood against Defendants
Littlefield, Expeditor’s Express, lnc. and Tullis in the Brown state court
2. al;l’(i:r:\|icr)tlt]iff Gramercy has no obligation to indemnify Defendants Litt|efield,
Expeditor’s Express, lnc. or Tullis relative to any claim asserted against

them on behalf of the Estate of Donald D. Undervvood in the Brown state
court action;

Case 3:12-cv-00509 Document 1 Filed 05/21/12 Page 7 of 8 PageiD #: 7

3. Plaintiff Gramercy is entitled to such other relief as this Court deems just
and proper.

Respectfully submitted,

LElTNER, VV|LL|A|\/|S, DOOLEY

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Case 3:12-cv-00509 Document 1 Filed 05/21/12 Page 8 of 8 PageiD #: 8

